Case 2:04-cv-02666-.]DB-dkv Document 53 Filed 08/18/05 Page 1 of 3 Page|D 57

IN THE UNITED s'rATEs DIsTRlCT CoURT F"ED Bf mr
FoR THE wEsTERN DISTRICT oF TENNESSEE _
WESTERN DIVIsIoN 95 AUG 13 H ls' 93

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TIG INSURANCE COMPANY, CI_EH?\:K[),;% 'ESFTQW??LYOUHT
W, 'DGFW l.'?§‘§-PlilS
Plaintiff,
v. No. 04-2666-B

MERRYLAND CHILD CARE AND DEVELOPMENT
CENTER, INC., a/k/a MERRYLAND KINDERGARTEN,
INC., a/k/a MERRYLAND KINDERGARTEN AND
DAY CARE CENTER, INC., et al.,

Defendants.

ORDER ON MOTION FOR ADMISSION PRO HAC VICE
Ms. Diane Karp Ehrhart has moved to appear gr_o hac yic_e for plaintiff in this action.
Ms. Ehrhart is licensed to practice law in the State of Illinois and is a member in good standing
of the Bar With the Supreme Court of Illinois. For good cause shown, that motion is granted
lt is hereby ordered that Diane Karp Ehrhart be admitted pro gag Lig and may actively
participate in this action before this court.

IT IS SO ORDERED.

. D NIEL BREEN "*
NI ED sTATEs DISTRICT JUDGE

wit/wes

DATE 0

 

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truth Rule 58 and/or 79(5) )FHCF’ on ag wl

 

UNIED TATES DISTR1CT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:04-CV-02666 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

